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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12 JIM MARSHALL                      )           Case No. CV12-3423-SJO (VBKx)
13 PHOTOGRAPHY LLC, a California )               Honorable S. James Otero
   Limited Liability Company,        )
14                                   )
15              Plaintiff,           )           PLAINTIFF’S OPPOSITION TO
                                     )           MOTION TO DISMISS OF
16
                v.                   )           DEFENDANT GOOGLE, INC.
17                                   )
   THIERRY GUETTA; IT’S A            )           Date:    September 4, 2012
18
   WONDERFUL WORLD, INC., a          )           Time:    10:00 A.M.
19 California corporation, .GOOGLE,  )           Place:   Courtroom 1, Second Floor
20 INC., a Delaware corporation, and )
   DOES 1 though 10, inclusive,      )
21                                   )
22              Defendants.          )
   ______________________________ )
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25
26
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         This is a straightforward case of copyright infringement directly akin to the flea
 4   market operator found liable in Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259 (9th
 5   Cir. 1996). Defendant seeks to avoid this result, first, by misstating the allegations in
 6   Plaintiff’s Complaint and, second, by arguing because its misstated allegations cannot
 7   be true, the instant 12(b)(6) Motion should be granted. Such an approach must fail.
 8         The allegations in Plaintiff’s Complaint, which must be taken as true, are not
 9   complicated. Plaintiff holds the copyright in photographs taken by Jim Marshall, a
10   world-renowned celebrity photographer.         Defendant Thierry Guetta, aka “Mr.
11   Brainwash,” is graphic artist well-known for taking other people’s images of
12   celebrities without authorization and appropriating those images his own ends. That
13   Guetta’s “stock and trade” is copyright infringement, is discoverable in seconds by
14   reviewing his Wikipedia entry, http://en.wikipedia.org/wiki/Mr._Brainwash, or by
15   using the Google search engine.
16         Defendant Google, Inc. (“Google”) decided to host an event to launch its new
17   business “Google Music” at Guetta’s studio.         Google supervised the event and
18   controlled access. It commissioned Guetta to supply a backdrop to grace the event
19   consisting of a collage of famous music celebrities.       Not unexpectedly, Guetta’s
20   backdrop infringed the copyright in Plantiff’s iconic photographs of two of the most
21   important and revered musicians of the 20th Century, Jimi Hendrix and John Coltrane.
22   Google contributed to this infringing my allowing other photographers to enter the
23   event and encouraging them to take pictures of Guetta’s Infringing Backdrop and post
24   them for sale on the Internet to publicize its new Google Music business.
25         As such, Plaintiff sued Guetta and Google for direct infringement, and in
26   addition sued Google for contributory and vicarious infringement. Importantly, in the
27   current Motion, Google does not contest the sufficiency of the allegations of direct
28   infringement. Thus, its Motion is specifically directed to the contributory and vicarious

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 1   infringement claims. However, as will be seen, Plaintiff’s allegations fall squarely
 2   within the ambit of those claims under the test in Fonovisa and its progeny. As such,
 3   Google’s motion should be denied.
 4   II.    STATEMENT OF FACTS
 5          The following facts are alleged in Plaintiff’s Second Amended Complaint
 6   (“SAC” or “Complaint”):
 7          Plaintiff is Jim Marshall Photography LLC, the owner of the copyrights for
 8   photographs allegedly taken by Jim Marshall, who was known for his photographs of
 9   musical performers. Defendants Thierry Guetta (aka “Guetta”) and It’s A Wonderful
10   World, Inc. (for simplicity, “Guetta”) wrongfully appropriated eight (8) of Plaintiff’s
11   photographs (the “Subject Images”) without Plaintiff’s knowledge or permission on
12   artwork which was sold, offered for sale, or displayed to the public. Defendant Google
13
     Inc. (“Google”), in connection with the other Defendants, used at least two of
14
     Plaintiff’s Subject Images without consent to promote its service “Google Music.” The
15
     use of these photographs directly infringed Plaintiff’s copyright, including the
16
     exclusive reproduction, distribution and display rights.     Moreover, Google’s conduct
17
     planning and execution of the event constitutes contributory and vicarious
18
     infringement of Plaintiff’s copyright.
19
            For to contributory and vicarious liability claims, the salient allegations can be
20
     summarized as follows:
21
            To promote their own products and services, Google entered into a relationship
22
     with a known copyright infringer, Guetta, to throw a by-invitation event. SAC ¶¶ 33,
23
     34, 35. The location for the event was Guetta’s studio which contained an Infringing
24
     Backdrop that featured, without authorization, huge blow-ups of Plaintiff’s
25
26
     photographs of John Coltrane and Jimi Hendrix. SAC ¶¶ 32, 33, 34. Before agreeing

27   to stage the event in front of the Infringing Backdrop, Google knew or should have

28   known it was infringing in a number of ways, including Google’s awareness of

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 1   Guetta’s reputation as an artist whose work consists of “scanning and photoshopping”
 2   photographs that he does not own, including but not limited to seeing the movie “Exit
 3   Through The Gift Shop,” which depicted Guetta as a blatant and unapologetic
 4   copyright infringer. SAC ¶ 34. Moreover, before agreeing to stage their promotional
 5   event at the site of the Infringing Backdrop, Google toured the space where the
 6   Infringing Backdrop was located, viewed the images of musical icons and visionaries
 7   painted on the walls, and knew or should have known these were infringing works that
 8
     Guetta did not own or have the rights to. SAC ¶ 34.
 9
           In sum, based numerous factors, including upon the above, Google knew or
10
     should have known that the Infringing Backdrop was an infringement, SAC ¶ 34, and
11
     that Guetta’s business methods were unlawful. SAC ¶ 40. However, Google also
12
     knew Guetta’s unlawful business methods generated significant publicity. SAC ¶ 40.
13
     Accordingly, Google was faced with an important choice. Ultimately, Google decided
14
     to ignore Guetta’s unlawful business methods and use his celebrity to promote their
15
     event. SAC ¶ 40.
16
           Google reached an agreement with Guetta to launch a by-invitation media event
17
     at the site of the Infringing Backdrop to generate publicity for its Google Music
18
     service. SAC ¶ 40. In this regard, Google had the right and ability to supervise their
19
     by-invitation commercial event, including without limitation, (i) prohibiting
20
21
     photography, (ii) allowing photography, or (iii) encouraging photography. Second

22   Amended Complaint ¶ 40. Google chose to actively encourage photography of the

23   event and Infringing Backdrop, for the purpose of promotion and broader

24   dissemination. SAC ¶ 40. Defendant Google directly profited from the infringing
25   activity of those photographing the event, including, but not limited to, in the form of
26   obtaining valuable promotion and advertising of Google’s business and services,
27   including its Google music service. SAC ¶ 40. The resulting images were published,
28   displayed, distributed, reproduced, offered for sale or sold for profit. SAC ¶ 37.
                                              3
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 1
 2   III.    LEGAL ANALYSIS
 3           As shown by the following, Plaintiff has pled claims for relief for direct
 4   copyright infringement, contributory copyright infringement, and vicarious copyright
 5   infringement in conformity with FRCP 8.
 6
 7   A.      Applicable Legal Standards For Motion To Dismiss
 8           In reviewing a complaint under FRCP 12(b)(6), a court must take all allegations
 9   of material fact in the complaint as true and construe them in the light most favorable
10   to the nonmoving party. Parks School of Bus., Inc. v. Symington, 51 F.3d 1480, 1484
11   (9th Cir.1995). Dismissal is appropriate “only if it is clear that no relief could be
12   granted under any set of facts that could be proved consistent with the allegations.”
13   Hishon v. King & Spalding, 467 U.S. 69, 73, 104 S.Ct. 2229, 81 L.Ed.2d 59 (1984).
14           FRCP 8(a)(2) only requires only “a short and plain statement of the claim
15   showing that the pleader is entitled to relief,” in order to “give the defendant fair notice
16   of what the ... claim is and the grounds upon which it rests.” Bell Atlantic Corp. v.
17   Twombly, 550 U.S. 544, 545, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). Moreover,
18   “[t]he pleadings need not identify any particular legal theory under which recovery is
19   sought.” Crull v. GEM Ins. Co., 58 F.3d 1386, 1391 (9th Cir.1995). It is enough that
20   the complaint gives the defendant fair notice of what the plaintiff's claim is and the
21   grounds upon which it rests so that the defendant can frame a responsive pleading. See
22   Leatherman v. Tarrant County Narcotics Intelligence and Coordination Unit, 507 U.S.
23   163, 168, 113 S.Ct. 1160, 122 L.Ed.2d 517 (1993).
24           Mid America Title Co. v. Kirk, 991 F.2d 417, 421 (7th Cir. 1993), following
25   Leatherman, held that under FRCP 8, “[c]omplaints for copyright infringement simply
26   alleging present ownership by plaintiff, registration in compliance with the applicable
27   statute, and infringement by defendant, have been held sufficient under the rules.”
28   Perfect 10, Inc. v. Cybernet Ventures, Inc., 167 F.Supp.2d 1114, 1120 (C.D. Cal. 2001)

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 1   followed Mid America, noting “…complaints simply alleging present ownership by
 2   plaintiff, registration in compliance with the applicable statute and infringement by
 3   defendant have been held sufficient under the rules.” Accord Stewart v. Wachowski,
 4   2004 WL 2980783, * 5, fn. 32 (C.D.Cal. 2004) (following Mid America). In Do It Best
 5   Corp. v. Passport Software, Inc., 2004 WL 1660814 (N.D.Ill. 2004), the court engaged
 6   in an extensive review of the cases discussing the pleading requirements for
 7   contributory infringement claims in light of Mid America.          It held: “the court
 8   concludes that PSI’s claim for contributory copyright infringement requires no
 9   more than the following three allegations: (1) that PSI owned a valid copyright;
10   (2) that it registered in compliance with the applicable statute; and (3) that
11   Burroughs aided and abetted DIB's infringement.” (Id. *16.)
12         As will be seen, Plaintiff’s complaint more than meets these standards.
13
14   B.    Applicable Legal Standards For Pleading Copyright Infringement
15         To state a claim for direct copyright infringement, a plaintiff must allege: (1)
16   ownership of a valid registered copyright; and (2) unauthorized copying of protected
17   elements by the alleged infringer. 17 U.S.C. § 501(a) (infringement occurs when
18   alleged infringer engages in unauthorized activity in § 106); A & M Records, Inc. v.
19   Napster, Inc., 239 F.3d 1004, 1019-22 (9th Cir. 2001); Baxter v. MCA, Inc., 812 F.2d
20   421, 423 (9th Cir.1987). For these purposes, the word “copying” is shorthand for
21   infringing of any of the exclusive rights in 17 U.S.C. § 106. S.O.S., Inc. v. Payday,
22   Inc., 886 F.2d 1081, 1085 n. 3 (9th Cir.1989).
23         To state a claim of contributory copyright infringement, a plaintiff must allege
24   the defendant with knowledge of the infringing activity acted to induce, cause, or
25   materially contribute to the infringing conduct. Perfect 10, Inc. v. Visa Int'l Serv.
26   Ass’n, 494 F.3d 788, 795 (9th Cir.2007); Fonovisa, Inc. v. Cherry Auction, Inc., 76
27   F.3d 259, 264 (9th Cir. 1996). Put differently, liability exists if the defendant engages
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  1   in “personal conduct that encourages or assists the infringement.” Matthew Bender &
  2   Co. v. West Publishing Co., 158 F.3d 693, 706 (2d Cir.1998).
  3         To state a claim for vicarious copyright infringement, a plaintiff must allege a
  4   defendant has the right and ability to supervise the infringing conduct and a direct
  5   financial interest in the infringing activity. Perfect 10, 494 F.3d 788 at 802; Fonovisa,
  6   76 F.3d at 262. Knowledge of the infringement is not a requirement of vicarious
  7   liability. Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 931 n. 9,
  8
      125 S.Ct. 2764, 162 L.Ed.2d 781 (2005). As will be seen, Plaintiff’s Second Amended
  9
      Complaint meets these standards.
 10
 11
      C.    Plaintiff’s Allegations Of Direct Infringement Are Uncontested
 12
            Initially, it should be noted that Plaintiff duly pleads the elements of a claim of
 13
      direct infringement against all defendants, including Google. In it motion, Google
 14
      does not dispute the sufficiency of the allegations of direct infringement.
 15
            First, Plaintiff alleges ownership of the copyright in original photographs that
 16
      have been duly registered (the “Subject Images”). SAC ¶¶ 13-18.
 17
            Second, Plaintiff also alleges unauthorized copying. Plaintiff alleges access,
 18   which is not disputed. SAC ¶¶ 19. Plaintiff alleges that all defendants, including
 19   Google, directly infringed the copyrights in the Subject Images by making
 20   unauthorized copies, SAC ¶ 21, by making unauthorized derivative works, SAC ¶ 22,
 21   and by distributing and displaying these works to the public without authorization.
 22   SAC ¶ 22. These allegations are not disputed.
 23         In addition, Plaintiff alleges that Google also directly infringed Plaintiff’s
 24   display right by promoting and participants to an event where the Infringing Backdrop
 25   was displayed, SAC ¶ 35, and directly infringed Plaintiff’s performance and display
 26   right by making a live streaming of the event over the internet, SAC ¶ 38. These
 27   allegations are also not disputed.
 28

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  1         Thus, Google’s motion focuses solely on the claims of contributory and
  2   vicarious infringement.
  3
  4   D.    Plaintiffs Has Properly Alleged Claims of Contributory Infringement
  5         As mentioned above, a claim of contributory copyright infringement requires
  6   allegations that the defendant had knowledge of the infringing activity and acted to
  7   induce, cause, or materially contribute to the infringing conduct. Fonovisa, supra, 76
  8   F.3d 264. Plaintiff has pled two related claims of contributory infringement: first, that
  9   Google contributed to Guetta’s infringement through the Infringing Backdrop by
 10   hosting the event, SAC ¶ 35; second, that Google contributed to the further
 11   infringement of by the photographers at the event, SAC ¶ 39. Plaintiff’s pleadings are
 12   sufficient on both counts.
 13         1.     Plaintiff Has Duly Alleged Knowledge
 14
            In copyright practice, “knowledge” means that the contributory infringer “knows
 15
      or has reason to know” of the direct infringement. A & M Records, Inc. v. Napster,
 16
      Inc., 239 F.3d 1004, 1019-22 (9th Cir. 2001). Willful blindness is also knowledge in
 17
      copyright law. In re Aimster Copyright Litigation, 334 F.3d 643, 650 (7th Cir 2003);
 18
      Arista Records, Inc. v. Flea World, Inc., 2006 WL 842883, *14 (D.N.J. 2006) (turning
 19
      a “blind eye” to infringement is the equivalent of knowledge).
 20
            Numerous cases have found liability based on the “reason to know” standard.
 21
      E.g. Napster, supra, 239 F.3d 1020 (finding constructive knowledge where infringer’s
 22
      executives had industry experience, had enforced intellectual property rights, had
 23
      downloaded copyright songs, and had promoted screen shots showing infringing files);
 24
      Columbia Pictures Indus., Inc. v. Aveco, Inc., 800 F.2d 59, 62 (3d Cir.1986) (video
 25
      store owner who encouraged use of its facilities and knowingly promoted playing of
 26
 27
      movie videos was a contributory infringer even though its customers actually played

 28   the videos); Screen Gems-Columbia Music, Inc. v. Mark-Fi Records, Inc., 256 F.Supp.

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  1   399, 404-05 (S.D.N.Y.1966) (plaintiff raised sufficient claim that advertising agency,
  2   radio station and shipper of bootleg records should have known of the infringement
  3   from indications the record supplier was a fly-by-night company and a price
  4   suspiciously below market price); also Ellison v. Robertson, 357 F.3d 1072, 1076 (9th
  5   Cir.2004) (jury could find knowledge from changing e-mail address to avoid notice).
  6         In Paragraph 34, Plaintiff alleges in detail that Google “knew or should have
  7   known” of the alleged infringement by several alternative routes. These include:
  8
            (a) by awareness of Guetta’s reputation as a “blatant and unapologetic copyright
  9
      infringer” (SAC ¶34), like the “fly-by-night operator in Screen-Gems;
 10
            (b) by ignoring any information about Guetta or his business methods (SAC
 11
      ¶34), showing conscious ignorance as in Aimster and Arista Records;
 12
            (c) by entering into an agreement with Guetta (SAC ¶34) to launch an event at
 13
      the site of the infringing work and encouraging others to attend, like the video store
 14
      operator in Columbia Pictures; and
 15
            (d) by actually touring the site and viewing the infringing works, thus knowing
 16
      or having to reason to know of the specific acts of infringement (SAC ¶34), as in
 17
      Napster et al.
 18
            Under FRCP 8, this sufficiently places Defendant on notice that its knowledge,
 19
      actual or constructive, of the infringement is in issue. And knowledge for purposes of
 20
 21
      contributory infringement is a question of fact which cannot be resolved on a motion to

 22   dismiss. Wales Indus. Inc. v. Hasbro Bradley, Inc., 612 F.Supp. 510, 518

 23   (S.D.N.Y.1985) disagreed with on other grounds, Hasbro Bradley, Inc. v. Sparkle

 24   Toys, Inc., 780 F.2d 189, fn. 7 (2nd. Cir. 1985) (allegation that independent sales rep
 25   who promoted infringing product knew or should have known of infringement raised
 26   issues of fact that could not be resolved on motion to dismiss); Adobe Systems Inc. v.
 27   Canus Productions, Inc., 173 F.Supp.2d 1044, 1056 (C.D.Cal. 2001) (existence of
 28   knowledge for contributory infringement raised issue of fact).
                                              8
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  1         Indeed, there are number of plausible ways Google could have obtained actual or
  2   constructive knowledge that the Infringing Backdrop was unauthorized. First, it is
  3   almost impossible to know anything about Mr. Brainwash and not know that he is a
  4   serial copyright infringer1.   The Academy Award nominated documentary “Exit
  5   Through The Gift Shop,” which brought Guetta his greatest fame, depicted him as a
  6   blatant and unapologetic copyright infringer.      SAC ¶34.       Most internet literature
  7   discussing    him,     including     his       Wikipedia      biography,      located       at
  8
      http://en.wikipedia.org/wiki/Mr._Brainwash, clearly shows him as an infringer, or
  9
      entries about him in the Google search engine.        When Defendant Google, or its
 10
      representatives, showed up to tour the space they were renting from a notorious
 11
      copyright infringer, they were confronted with massive reproductions of the images of
 12
      two of the most legendary and revered musicians of the 20th Century, John Coltrane,
 13
      who died in 1967, and Jimi Hendrix, who died in 1970. Google cannot reasonably
 14
      claim that they did not have reason to know these images were infringing.
 15
            Moreover, Google, could have (as alleged) entered into an agreement with
 16
      Guetta. Indeed, since Google would be encouraging others to take pictures of Guetta’s
 17
      works, Google would need a license to do so to avoid infringement claims by Gueta, so
 18
      such an agreement is likely. The agreement could well contain disclosures about
 19
      content, or representations and warranties, or other indication of actual knowledge (or
 20
 21
      willful ignorance). Until discovery is complete, the actual facts will not be known.

 22   But one cannot claim at this point Google did not and under any conceivable set of

 23   circumstances could not have actual knowledge of the infringement.

 24         In support of its claim that Google could not have knowledge as a “matter of
 25   law” Google cites only two cases, both inapplicable. First, Google claims the District
 26   Court decision in Attacks Ink, LLC v. MGA Entm’t, Inc., 2007 WL 1989631, at *4
 27   1
       Any contrary claim is akin to a party claiming they are interested in working with
 28   “Weird” Al Yankovic, were not aware that he does song parodies.
                                                 9
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  1   (S.D. Cal. July 2, 2007) holds that allegations of knowledge of an individual’s
  2   “reputation” as an infringer “fails to state a claim” for contributory infringement “as a
  3   matter of law.” (Opp. 5:27-6:4). Air Attacks holds no such thing. First, Air Attacks
  4   was addressing a motion for judgment NOV after a full trial and only found that the
  5   evidence at trial was insufficient to show knowledge. This is hardly a case about
  6   pleading. Second, Art Attacks was primarily concerned whether the contacts between
  7   the plaintiff and defendant showed access, concluding in the end they did not. The
  8
      decision was affirmed in Art Attacks Ink, LLC v. MGA Entertainment Inc., 581 F.3d
  9
      1138 (9th Cir. 2009). However, in L.A. Printex Industries, Inc. v. Aeropostale, Inc.,
 10
      676 F.3d 841 (9th Cir. 2012), the Ninth Circuit, en banc, revisited the situation, noted
 11
      that access depends on the situation, and substantially limited Air Attacks to its facts.
 12
      This is nothing in Air Attacks, even its in truncated form, which holds reputation can
 13
      never impart constructive knowledge. Indeed, such as result is directly contrary to
 14
      Screen Gems. Moreover, as set forth above, Plaintiff alleges additional factors to
 15
      support constructive knowledge besides reputation. Also Arista Records, Inc. v. Flea
 16
      World, Inc., 2006 WL 842883 (D.N.J. 2006) ( “Defendants are incorrect that Plaintiffs
 17
      are required to prove that Defendants had knowledge of “specific infringement(s)” at
 18
      the time the Defendants materially contributed to the direct infringement.)
 19
            Defendant’s citation to Med-Systems, Inc. v. Masterson Marketing, Inc., 2011
 20
 21
      WL 5873399 *7 (S.D.Cal. 2011) actually supports Plaintiff. Med-Systems said an

 22   allegation that defendant was “fully aware of the terms of usage for all images” was

 23   sufficient to survive the motion to dismiss since it “supports a reasonable inference that

 24   Defendant knew the images were copyrighted.”             Here, Plaintiff alleged actual
 25   knowledge of the infringing uses: SAC ¶34: “Google … toured the space …. viewed
 26   the images of musical icons and visionaries painted on the walls, in plain view and on
 27   public display, and knew … these were infringing works that Guetta did not own or
 28   have the rights to, and that Guetta used without permission.”
                                               10
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  1         Plaintiff has sufficiently pled “knowledge” for contributory infringement.
  2         2.     Plaintiff Has Duly Alleged Contribution To The Infringement
  3         Plaintiff has also duly alleged that Google did “induce, cause, or materially
  4   contribute to the infringing conduct.” Indeed, this standard is met by where the
  5   infringer provides the “site and facilities” or the “environment and market” for
  6   infringing activities. E.g. Fonovisa, supra, 76 F.3d 264 (providing “site and facilities”
  7   for infringement activities enough, in this case including “space, utilities, parking,
  8   advertising, plumbing, and customers); Ellison v. America Online, Inc., 357 F.3d 1072,
  9   1078 (9th Cir. 2004) (material contribution by storing infringing copies on its usenet
 10   and providing users with access to those copies); Columbia Pictures, supra, 800 F.2d
 11   59 (video store providing “site and facilities” for unauthorized public performance);
 12   Arista Records, supra, 2006 WL 842883, *15 (providing flea market where infringing
 13   copies sold, since “providing such an environment and services, is all that is required
 14   to satisfy the requirement of material contribution necessary to establish contributory
 15   liability.”) See also Fonovisa, supra, 76 F.3d 264, citing with approval 2 William F.
 16   Patry, COPYRIGHT LAW & PRACTICE 1147:              “Merely providing the means for
 17   infringement may be sufficient to incur contributory copyright liability.”
 18         Defendant claims that “allegations that Google later displayed the completed
 19   Artwork does not establish that Google contributed to or induced Guetta’s alleged
 20   direct infringement in creating the artwork.” (Motion, p. 7:13-15.) This claim, of
 21   course, completely misses the point. Under the Copyright Act, 17 U.S.C. § 501(a),
 22   infringement arises from unauthorized exercise of any of the exclusive rights accorded
 23   in 17 U.S.C. § 106, not just the reproduction right. Section 106 accords Plaintiff, as
 24   the owner of the copyright in the Subject Images, not only the exclusive right to
 25   reproduce them (§ 106(1)), but also the exclusive right to create derivative works from
 26   them (§ 106(2)), to distribute copies publicly (§ 106(3)), and crucially, to display the
 27   works publicly (§ 106(5)). In its complaint, Plaintiff specifically alleges that
 28   defendants, including Guetta, in addition to reproducing the Subject Images without

                                              11
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  1   authorization, SAC ¶ 20, also created unauthorized derivative works, SAC ¶ 22, and
  2   offered for sale (distributed) and displayed the infringing copies to the public without
  3   authorization, SAC ¶ 22, ¶ 23-27. That is, as uncontested by Google, Plaintiff alleges
  4   infringement of multiple exclusive rights.
  5         Indeed, without regard to claims of contributory infringement, Plaintiff
  6   specifically alleges:
  7         (a) Google hosted an event and provided the site where the infringement
  8   occurred, i.e., unauthorized display of Plaintiff’s Subject Images, SAC ¶ 35, just like
  9   the flea markets in Fonovisa and Arista;
 10         (b) Google invited, directed, requested and encouraged others to photograph –
 11   i.e., make further reproductions – of Plaintiff’s Subject Images which would then be
 12   further distributed, for Google’s own benefit, SAC ¶ 35 and ¶ 39, just like the video
 13   store operator in Columbia Pictures, or the event organizers in Fonovisa and Arista
 14   Records. (Nor is there any allegation, as Google argued, that all or any of the
 15   photographers were news reporting, so as to even suggest a fair use defense.)
 16         That is, Google provided the site and facilities and brought in the audience to
 17   make an unauthorized public display and encouraged unauthorized reproductions for
 18   further unauthorized public distribution.
 19         Plaintiff has sufficiently pled material contribution to the infringing activities.
 20
      D.    Plaintiff’s Has Properly Alleged Claims of Vicarious Infringement
 21
            As mentioned above, for vicarious copyright infringement it is necessary to
 22
      allege a defendant has the right and ability to supervise the infringing conduct and a
 23
      direct financial interest in the infringing activity. Fonovisa, supra, 76 F.3d at 262.
 24
      Knowledge of the infringement is not a requirement of vicarious liability. Grokster,
 25
 26
      supra, 545 U.S. 931. In this regard, Plaintiff has alleged two related grounds for

 27   vicarious infringement, first by control of the event where the authorized display of the

 28   Infringing backdrop occurred, and second by the unauthorized photography.

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  1           1.     Plaintiff Has Duly Alleged Ability to Control Infringement
  2           The case law has found a variety of situations which demonstrate a defendant
  3   has sufficient “right and ability to supervise the infringing conduct.”         In general,
  4   defendants have “control” if they “either actively operate or supervise the operation of
  5   the place wherein the [infringing conduct] occurs or control the content of the
  6   infringing program.” Polygram Intern. Pub., Inc. v. Nevada/TIG, Inc., 855 F.Supp.
  7   1314 (D.Mass.1984) (exhaustive review of case law). Thus, a variety of factors, either
  8   individually or collectively, can show “control.” These include:
  9   (i)     actual ability to control activities (e.g. Fonovisa, supra, 76 F.3d 262 (“Cherry
 10
      Auction had … the right had the ability to control the activities of vendors on the
 11
      premises”); or
 12
      (ii)    a contractual right to control activities even if not exercised (Gershwin
 13
      Publishing Corp. v. Columbia Artists Management, Inc., 443 F.2d 1159, 1162 (2d
 14
      Cir.1971) (store owner who had contractual right to control concessionaires was
 15
      vicariously even though it did not actively exercise contractual right), accord
 16
      Fonovisa, supra, 76 F.3d 262; or
 17
      (iii) actively organizing and promoting an event (e.g. Polygram, supra, 855 F.Supp.
 18
      1329 (defendant “promoted the … show through advertising in order to develop an
 19
      audience for the exhibitors”), accord Fonovisa, supra, 76 F.3d 262 (defendant had
 20
      “pervasive participation in the formation and direction” of the direct infringers,
 21
 22
      including promoting them (i.e. creating an audience for them)”); or

 23
      (iv)    the ability to control access to a site (e.g., Napster, supra, 239 F.3d 1020 (“The

 24   ability to block infringers’ access to a particular environment for any reason

 25   whatsoever is evidence of the right and ability to supervise”); Fonovisa, supra, 76 F.3d
 26   262 (“Cherry Auction … controlled the access of customers to the swap meet area”);
 27   or
 28

                                                13
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  1   (v)    the ability to control the content on the site (e.g. M. Witmark & Sons v. Pastime
  2   Amusement Co., 298 F. 470, 475 (D.C.S.C. 1924) (“defendant did retain and exercise
  3   control over the organist in reference to her selections”).)
  4          A party with the ability to supervise or control infringing activity cannot avoid
  5   liability by failing to exercise such supervision or control. Gershwin, supra, 443 F.2d
  6   1161 (“The failure to police the conduct of the primary infringer is sufficient for the
  7   imposition of vicarious liability.”) accord Napster, supra, 239 F.3d 1023 (“To escape
  8
      imposition of vicarious liability, the reserved right to police must be exercised to its
  9
      fullest extent. Turning a blind eye to detectable acts of infringement for the sake of
 10
      profit gives rise to liability.”)
 11
             Once again, Google attempts to deny its ability to control the infringing conduct
 12
      based solely on the claim that Google did not “participate in the creation” of the
 13
      Infringing Backdrop.” Put aside for a moment that this is arguing facts, not pleadings,
 14
      and Plaintiff specifically alleges that “Defendants wrongfully created copies of the
 15
      Subject Images.” SAC, ¶ 20. At this point, Plaintiff does not know whether Google
 16
      did in fact commission the Infringing Backdrop, or ask Guetta to make materials
 17
      alterations to components of a preexisting work, or to create a new combination.
 18
             In any case, however, this is no more than a disingenuous attempt to limit the
 19
      pleadings solely to the reproduction right, when Plaintiff clearly alleges infringement
 20
 21
      of other exclusive rights. Indeed, the case cited by Google, Oravec v. Sunny Isles

 22   Luxury Ventures L.C., 469 F.Supp.2d 1148, 1173 (S.D.Fla. 2006), a summary

 23   judgment case not a pleading case, supports Plaintiff as it says that vicarious

 24   infringement includes showing that “Defendants had the right to stop or limit the
 25   infringement but did not.” In this case, Plaintiff has pled:
 26          (a) Google hosted a by-invitation commercial event where the Infringing
 27   Backdrop was displayed publicly without authorization, SAC ¶ 35, showing actual
 28

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  1   control over the site where infringement of Plaintiff’s display right occurred, and in
  2   Fonovisa;
  3          (b) Google entered into a contract with Guetta and retained the right and ability
  4   to “supervise, direct and control” the persons attending and their unauthorized
  5   photographing of Infringing Backdrop, SAC ¶ 35, showing ability control the site
  6   where infringement of Plaintiff’s reproduction and display rights occurred, as in
  7   Gershwin and Fonovisa;
  8
             (c) Google advertised and promoted the event, which was by-invitation, thus
  9
      controlling who could attend, SAC ¶ 35, as in Polygram and Fonovisa;
 10
             (d) Google supervised, controlled and authorized who could take photographs of
 11
      the Infringing Backdrop, SAC ¶ 35, thus controlling access to the infringing works as
 12
      in Napster and Fonovisa; and
 13
             (e) Google selected the space where the Infringing Backdrop was located to host
 14
      its event after viewing the site, SAC ¶ 34, and decided to stream the event on its
 15
      YouTube Site, SAC ¶ 38, thus giving its control over the content at the event as in
 16
      Whitmark;
 17
             (f) Google contributed to the further infringement of Plaintiff’s distribution
 18
      rights by inviting and requesting photographers to come to the even and take
 19
      photographs of the Infringing Backdrop when the infringing photographs were placed
 20
 21
      on the Internet (SAC ¶ 37).

 22          Plaintiff has sufficiently alleged Google’s “right and ability to supervise”

 23   infringing conduct including infringement of the reproduction right (unauthorized

 24   photographs of the Infringing Backdrop), distribution right (encouraging offering
 25   infringing photographs for sale on Internet) and display right (unauthorized display of
 26   Infringing Backdrop at event) in the Subject Images.
 27   ///
 28   ///
                                               15
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  1         2.     Plaintiff Has Duly Alleged Financial Benefit
  2         The case law has also discussed the situations where a defendant receives a
  3   financial benefit from the infringing activity. Two are particularly applicable here.
  4         The first involves situations where the infringing activity “enhances the
  5   attractiveness” of the venue to potential customers. E.g.¸ Fonovisa, supra, 76 F.3d 262
  6   (“Our conclusion is fortified by the continuing line of cases, starting with the dance
  7   hall cases, imposing vicarious liability on the operator of a business where infringing
  8   performances enhance the attractiveness of the venue to potential customers.”); accord
  9   Polygram, supra, 855 F.Supp. 1332 (D.Mass. 1984) (trade show operator vicariously
 10
      liable since it received a “significant financial benefit” from attention customers paid
 11
      to infringing music); Gershwin, supra, 316 F.2d 307 (dance hall proprietor liable since
 12
      infringement “provide[s] the proprietor with a source of customers and enhanced
 13
      income”).
 14
            An alternative ground is where the infringing activity acts as a “draw” to the site.
 15
      Arista Records, Inc. supra, 2006 WL 842883 *12 (noting a “draw” is an alternative
 16
      ground for financial benefit); accord Fonovisa, supra, 76 F.3d 263-264 (“Financial
 17
      benefit exists where the availability of infringing material ‘acts as a “draw” for
 18
      customers.”) This result also comes from on the famous “dance hall” cases where the
 19
      unauthorized performance of copyrighted music “draws” an audience to the dance hall.
 20
      E.g. Dreamland Ball Room, Inc. v. Shapiro, Bernstein & Co., 36 F.2d 354 (7th
 21
 22
      Cir.1929). The fact that attendees do not pay an admission fee is not dispositive since

 23
      their attendance can increase the value of defendant’s other offerings at the site. Arista

 24   Records, Inc. supra, 2006 WL 842883 *12; UMG Recordings, Inc. v. Sinnott, 300

 25   F.Supp.2d 993, 1002-1003 (E.D.Cal. 2004) (“While the customers were not charged
 26   admission, the “draw increased revenue at [defendant's] concession stands ... and
 27   [defendant's] go-kart track located on the property.”)
 28

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  1         The presence of an infringing work does not need to be a significant draw to
  2   establish vicarious liability, only “a” draw. Fonovisa, supra, 76 F.2d at 263. As
  3   Ellison, supra, 357 F.3d 1079 held: “The district court interprets Fonovisa and ‘direct
  4   financial benefit’ to require a ‘substantial’ proportion of a defendant’s income to be
  5   directly linked to infringing activities for the purpose of vicarious liability analysis. …
  6   We disagree with the addition of this quantification requirement. … There is no
  7   requirement that the draw be substantial. … The essential aspect of the ‘direct financial
  8
      benefit’ inquiry is whether there is a causal relationship between the infringing activity
  9
      and any financial benefit a defendant reaps, regardless of how substantial the benefit is
 10
      in proportion to a defendant's overall profits.”
 11
            UMG Recordings, Inc. v. Veoh Networks Inc., 2009 WL 334022 (C.D.Cal.
 12
      2009), cited by Google, is completely inapplicable to this case. There, the plaintiff was
 13
      suing Veoh’s investors for vicarious infringement, and the court held there was no
 14
      showing that the investors received any direct financial benefit from the infringement.
 15
      Here, Plaintiff is not suing Google’s investors, but Google itself. Similarly, Perfect 10,
 16
      Inc. v. Visa International Service, 2004 WL 3217732 (N.D. Cal. Dec. 2, 2004) has to
 17
      do with remote credit card processors. Plaintiff is not suing Google’s credit card
 18
      processors, but Google itself
 19
            Once again, Defendant’s authority supports Plaintiff. UMG, supra, 2009 WL
 20
 21
      334022 *5, noted that the Ninth Circuit, in Napster, supra 239 F.3d 1023, had affirmed

 22   the district court’s holding that “direct financial benefit” could be found where the

 23   infringement increased “Napster's ‘potential revenue sources included targeted email;

 24   advertising; commissions from links to commercial websites; direct marketing of CDs,
 25   Napster products, and CD burners and rippers.”
 26         Again, contrary to Google’s attempt to mischaracterize Plaintiff’s complaint,
 27   Plaintiff has pled:
 28

                                               17
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  1          (a) Google obtained valuable advertising and promotion for Google’s business,
  2   including Google music, SAC ¶ 40, thus enhancing the value of its business as in
  3   Fonovisa and Polygram;
  4          (b) Google wanted its products and services to be associated with Guetta and his
  5   infringing activity due to his ability to generate publicity, SAC ¶ 34, and so decided to
  6   stage a media event where the Infringing Backdrop was displayed to promote their
  7   Google Music service to their financial benefit, SAC ¶ 35, thus creating a “draw” as in
  8
      Arista, Fonovisa and Ellison;
  9
             (c) Google encouraged unauthorized photography for the purpose of broader
 10
      dissemination and publicity, SAC ¶ 40, thus seeking to enhance the value of its Google
 11
      Music business, as in Dreamland and Gershwin.
 12
             Plaintiff has sufficiently alleged Google’s financial benefit from the infringing
 13
      conduct.
 14
 15
      IV.    CONCLUSION
 16
             Defendants’ motion is based on a systematic misreading of applicable case law
 17
      and Plaintiff’s complaint. The motion is without merit and should be denied. Should,
 18
      however, the Court grant the instant Motion, Plaintiff respectfully requests leave to
 19
      amend and an opportunity to correct any deficiencies identified by the Court.
 20
 21
      Dated: August 14, 2012           LAW OFFICES OF LAWRENCE G. TOWNSEND
 22                                    THE LINDE LAW FIRM
 23
 24                                    By: __/s/ Douglas A. Linde ___________________
 25                                    Lawrence G. Townsend
                                       Douglas A. Linde
 26                                    Erica L. Allen
 27                                    Attorneys For Plaintiff,
                                       JIM MARSHALL PHOTOGRAPHY LLC
 28

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